           Case 2:11-cr-00077-WBS Document 49 Filed 01/10/12 Page 1 of 3


 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   MATTHEW M. SCOBLE, Bar #237432
     Designated Counsel for Service
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     CHRISTOPHER TABOR
 6
 7
                          IN THE UNITED STATES DISTRICT COURT
 8
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,          )   NO. CR.S-11-077-WBS
11                                      )
                      Plaintiff,        )
12                                      )   STIPULATION AND [PROPOSED] ORDER;
          v.                            )      CONTINUING STATUS CONFERENCE
13                                      )          AND EXCLUDING TIME
     JASPREET DHADDA,                   )
14   CHRISTOPHER TABOR,                 )   Date: February 6, 2012
     JAIME MAROTTE,                     )   Time: 9:30 a.m.
15                                      )   Judge: Hon. William B. Shubb
                    Defendant.
16   _______________________________

17
          IT IS HEREBY STIPULATED by and between the parties hereto through
18
     their respective counsel, JASON HITT, Assistant United States Attorney,
19
     attorney for Plaintiff, and attorney PETER KMETO, Counsel for JASPREET
20
     DHADDA, and attorney MATTHEW SCOBLE, Counsel for CHRISTOPHER TABOR, and
21
     attorney MICHAEL BIGELOW, Counsel for JAIME MAROTTE that the status
22
     conference hearing date of January 9, 2012 be vacated, and the matter
23
     be set for status conference on February 6, 2012 at 9:30 a.m.
24
               The reason for this continuance is to allow defense counsel
25
     additional time to review discovery with the defendants, to examine
26
     possible defenses and to continue investigating the facts of the case.
27
          Based upon the foregoing, the parties agree that the time under
28
              Case 2:11-cr-00077-WBS Document 49 Filed 01/10/12 Page 2 of 3


 1   the Speedy Trial Act should be excluded from the date of signing of
 2   this order through and including February 6, 2012 pursuant to 18 U.S.C.
 3   §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and Local Code
 4   T4 based upon continuity of counsel and defense preparation.
 5
 6   DATED:    January 6, 2012.                      Respectfully submitted,
 7                                                   DANIEL J. BRODERICK
                                                     Federal Public Defender
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 9
                                                     /s/ Matthew M. Scoble
10                                                   MATTHEW M. SCOBLE
                                                     Assistant Federal Defender
11                                                   Attorney for CHRISTOPHER TABOR
12
13   DATED:    January 6, 2012.                      /s/ Matthew M. Scoble for
                                                     PETER KMETO
14                                                   Assistant for Defendant
                                                     JASPREET DHADDA
15
16   DATED:    January 6, 2012.                      /s/ Matthew M. Scoble for
                                                     MICHAEL BIGELOW
17                                                   Assistant for Defendant
                                                     JAIME MAROTTE
18
19   DATED:    January 6, 2012.                      BENJAMIN WAGNER
                                                     United States Attorney
20
21
                                                     /s/ Matthew Scoble for
22                                                   JASON HITT
                                                     Assistant U.S. Attorney
23                                                   Attorney for Plaintiff
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25
26                                       ORDER
27        UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
28   ordered that the January 9, 2012, status conference hearing be


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              Case 2:11-cr-00077-WBS Document 49 Filed 01/10/12 Page 3 of 3


 1   continued to February 6, 2012 at 9:30 a.m.          Based on the representation
 2   of defense counsel and good cause appearing there from, the Court
 3   hereby finds that the failure to grant a continuance in this case would
 4   deny defense counsel reasonable time necessary for effective
 5   preparation, taking into account the exercise of due diligence.          The
 6   Court finds that the ends of justice to be served by granting a
 7   continuance outweigh the best interests of the public and the
 8   defendants in a speedy trial.        It is ordered that time up to and
 9   including the February 6, 2012 status conference shall be excluded from
10   computation of time within which the trial of this matter must be
11   commenced under the Speedy Trial Act pursuant to 18 U.S.C. §
12   3161(h)(7)(A) and (B)(iv) and Local Code T-4, to allow defense counsel
13   reasonable time to prepare.
14   Dated:    January 9, 2012
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